  Case 6:21-cv-01083-RBD-EJK Document 1 Filed 06/29/21 Page 1 of 3 PageID 1




                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

JENNIFER JACOB,

         Plaintiff,

vs.

MOVING SOLUTIONS, LLC
a Florida Limited Liability
Company,

         Defendant.
                                      /


                               COMPLAINT FOR DAMAGES
         Plaintiff, JENNIFER JACOB, sues Defendant, MOVING SOLUTIONS, LLC, and
shows:


                                          Introduction
         1.      This is an action by JENNIFER JACOB against her former employer for
unpaid overtime pursuant to the Fair Labor Standards Act. Plaintiff seeks damages and a
reasonable attorney’s fee.


                                          Jurisdiction
         2.      This action arises under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §
207. The Court has jurisdiction over the claims pursuant to 29 U.S.C. § 216(b).
         3.      The claim arose within the Middle District of Florida, which is where venue is
proper.


                                Parties and General Allegations
         4.      Plaintiff, JENNIFER JACOB, (hereinafter “JACOB”) a resident of Volusia
County, was at all times material, employed by MOVING SOLUTIONS, LLC, as a
dispatcher, was an employee as defined by 29 U.S.C. § 203(e), and during her employment
  Case 6:21-cv-01083-RBD-EJK Document 1 Filed 06/29/21 Page 2 of 3 PageID 2




with MOVING SOLUTIONS, LLC, was engaged in commerce or in the production of goods
for commerce.
       5.     Defendant,     MOVING       SOLUTIONS,         LLC,    (hereinafter,   “MOVING
SOLUTIONS”), is a Florida Limited Liability Company doing business in several counties
throughout the Middle District of Florida, and is an enterprise engaged in an industry affecting
commerce, is an employer as defined by 29 U.S.C. § 203(d) and (s)(1), in that it has employees
engaged in commerce or in the production of goods for commerce, or that has employees
handling, selling, or otherwise working on goods or materials that have been moved in or
produced for commerce by any person; and it is an enterprise whose annual gross volume of
sales made or business done is not less than $500,000 (exclusive of excise taxes at the retail
level that are separately stated) which has employees subject to the provisions of the FLSA,
29 U.S.C. § 207, in the office where JACOB was employed.


    Count I – Violation of FLSA by Defendant MOVING SOLUTIONS – Overtime
       6.     Plaintiff, JENNIFER JACOB, realleges, as if fully set forth in Count I, the
allegations of Paragraphs 1 through 5 above.
       7.     Since April 1, 2019 through April 20, 2021, defendant MOVING SOLUTIONS
has willfully violated the provisions of §7 of the Act [29 U.S.C. §207] by employing employees
engaged in commerce for workweeks longer than 40 hours without compensating them for their
employment in excess of 40 hours at rates not less than one and one-half times the regular rates
at which they were employed.
       8.     JACOB worked in excess of 40 hours a week nearly every week of her
employment, and was not compensated for the work in excess of 40 hours at a rate not less than
one and one-half times the regular rate at which she was employed.
       9.     The failure to pay overtime compensation to JACOB is unlawful in that she was
not exempted from the overtime provisions of the Act pursuant to the provisions of 29 U.S.C. §
213(a), in that she neither was a bona fide executive, administrative or professional employee.
       10.    MOVING SOLUTIONS’ actions were willful and purposeful as it was well
aware of the Fair Labor Standards Act and JACOB’s status as non-exempt, but chose not to pay
her in accordance with the Act.
       11.    JACOB is entitled pursuant to 29 U.S.C. § 216(b), to recover from MOVING
SOLUTIONS:
 Case 6:21-cv-01083-RBD-EJK Document 1 Filed 06/29/21 Page 3 of 3 PageID 3




              a.       All unpaid overtime that is due;
              b.       As liquidated damages, an amount equal to the unpaid overtime owed;
              c.       The costs of this action, and;
              d.       A reasonable attorney’s fee.


       WHEREFORE, Plaintiff, JENNIFER JACOB, prays that this court will grant judgment
against defendant MOVING SOLUTIONS:
              a.       awarding JACOB payment of overtime compensation found by the court
to be due to her under the Act, including pre-judgment interest;
              b.       awarding JACOB an additional equal amount as liquidated damages;
              c.       awarding JACOB her costs, including a reasonable attorney’s fee; and
              d.       granting such other and further relief as is just.


                                           Jury Demand
       Plaintiff demands trial by jury on all issues so triable.
Dated: June 29, 2021
Plantation, Florida
                                              Respectfully submitted,


                                              /s/Robert S. Norell
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